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 4
   Attorney for:
 5 PAMELA PIERSON

 6
                                     IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                            CASE NO. 16-CR-00106 KJM
10
                                      Plaintiff,          REQUEST TO FILE UNDER SEAL
11
                                v.
12
     PAMELA PIERSON,
13                                    Defendant.

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15
            Pursuant to Local Rule 14(b), Defendant, PAMELA PIERSON, by and through her Counsel,
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     Dina L. Santos, respectfully requests an Order sealing the six page supplemental sentencing
17
     memorandum. The memorandum contains sensitive information that references the cooperation of Ms.
18
     Pierson with the Government, and could create a dangerous situation for Mr. Pierson.
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            The Court may order documents to be filed under seal. While the press and the public have a
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     presumed right of access to court proceedings and documents under the first amendment, this presumed
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     right is not absolute. See Press-Enterprise Co. v. Superior Court, 464 U.S. 501 (1985). It can be
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     overcome based on findings that closure is essential to preserve higher values and is narrowly tailored to
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     serve that interest. Id. From the Court’s perspective, the controlling interest is to articulate along with
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     findings specific enough that a reviewing court can determine whether the closure order was properly
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     entered. Id.
26
            Here, the Defense seeks to file a six document under seal because of the nature of the
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     information contained within the documents. The information within the documents will create a
28

      Request to Seal & Order                              1
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 1 dangerous situation for Ms. Pierson if the information is made public. The nature of the danger posed to

 2 Ms. Pierson is detailed in the motion to seal by the Government in their 5k motion.

 3                                                      Respectfully Submitted,

 4
     Dated: December 4, 2017                                /s/ Dina L. Santos
 5                                                          DINA SANTOS, ESQ.
                                                            Attorney for Pamela Pierson
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10
                                                    ORDER
11

12                  Pursuant to Local Rule 14(b), based upon the representation contained in Defendant’s

13 Request to Seal, and having considered the alternative of ordering a redacted version, IT IS SO FOUND

14 AND ORDERED THAT, the SUPPLEMENTAL SENTENCING MEMORANDUM, shall be sealed

15 under further order of this Court.

16 DATED: December 18, 2017.

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                                                     UNITED STATES DISTRICT JUDGE
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      Request to Seal & Order                           2
